Case 3:02-cr-00068-RGJ Document 458 Filed 07/29/09 Page 1 of 6 PageID #: 3064




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                               CASE NO.: 3:02-CR-68-003-R

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.

DAVID W. DABNEY, SR.                                                                DEFENDANT

                                 MEMORANDUM OPINION

       This matter is before the Court upon the Government’s Objection to Revised Restitution

Payment Plan Agreement and Motion to Increase Restitution (Docket #441). Defendant has

responded (Docket #444). The Government has filed a sur-reply (Docket #446). This matter is

now ripe for adjudication. For the reasons that follow, Plaintiff’s Motion to Increase Restitution

is GRANTED.

                                        BACKGROUND

       On September 5, 2002, Defendant David W. Dabney, Sr. pled guilty to one count of

participation in a criminal enterprise involved in racketeering, one count of conspiracy to

participate in a criminal enterprise involved in racketeering, and one count of tampering with a

witness. As part of his plea agreement, Defendant admitted to arson and conspiracy with his co-

defendants to defraud American National Insurance Company by causing a loss of $327,234.00

to be filed. The actual loss was $74,392.07. Defendant also admitted to intimidating and

threatening a witness in connection with a murder investigation.

       Defendant was sentenced to fifty-five months of imprisonment and three years of

supervised release, and ordered to pay $74,392.07 without interest in restitution to American

National Insurance Company. On April 7, 2006, the Court issued a Writ of Execution to collect

inheritance monies to be credited to Defendant’s indebtedness. The credit resulted in a
Case 3:02-cr-00068-RGJ Document 458 Filed 07/29/09 Page 2 of 6 PageID #: 3065




$26,000.00 reduction in Defendant’s restitution indebtedness.

       Defendant’s Restitution Payment Plan Agreement required him to make payments of at

least $50.00 per month based on his monthly cash flow of approximately $65.00. On July 3,

2008, Defendant completed a financial statement demonstrating that he had a monthly income

far in excess of that earlier figure. The United States Probation Office was notified and

recommended that Defendant’s payment plan be increased from $50.00 to $100.00 a month. On

August 6, 2008, the Court approved the Revised Restitution Payment Plan Agreement requiring

Defendant to make payments of at least $100.00 per month. Should Defendant continue to make

monthly payments of $100.00, it will take him approximately 469 months to pay his debt.

       The Government objects to the Revised Restitution Payment Plan Agreement because it

was reached by the United States Probation Office’s unilateral action and without notification to

the Government. The Government now moves to increase Defendant’s monthly restitution

payment.

                                         DISCUSSION

I.     Jurisdiction

       Before the Court can consider a motion to adjust a restitution payment schedule, the

Attorney General must “certify to the court that the victim or victims owed restitution by the

defendant have been notified of the change in circumstances.” 18 U.S.C. § 3664(k); see also

United States v. Grant, 235 F.3d 95, 100 (2d Cir. 2000). “Upon receipt of the notification, the

court may, on its own motion, or the motion of any party, including the victim, adjust the

payment schedule, or require immediate payment in full, as the interests of justice require.” 18

U.S.C. § 3664(k). Defendant challenges jurisdiction in this matter on the basis that (1) the


                                                2
Case 3:02-cr-00068-RGJ Document 458 Filed 07/29/09 Page 3 of 6 PageID #: 3066




Government did not certify to the Court that it notified the victim of the alleged change in

Defendant’s circumstances prior to filing its motion, and (2) the Government did not sufficiently

notify the victim of the purported change in Defendant’s circumstances.

       Defendant’s first argument turns on the meaning of the word “certify” in 18 U.S.C. §

3664(k). Defendant argues that the Government merely “stated” to the Court in its brief that,

pursuant to 18 U.S.C. § 3664(k), it notified the victim prior to filing its motion; the Government

did not “certify” to the Court that it notified the victim prior to filing its motion. Therefore,

Defendant argues that the Government has failed to meet the jurisdictional requirements of 18

U.S.C. § 3664(k).

       The word “certify” is not defined in the statute. However, the sentence directly following

the certification requirement states that upon receipt of the “notification” the Court may adjust

the payment schedule. A plain reading of the statute suggests that the Court may adjust the

payment schedule once the Attorney General confirms that the victim received notification. See

Parker-Hannifin v. Comm’r of Internal Revenue, 139 F.3d 1090, 1095 (6th Cir. 1998) (courts

“begin with the language of the statute itself, and interpret it according to its plain language

absent evidence of a contrary legislative intent”). Significantly, Defendant does not cite to any

legislative history or case law indicating that the word “certify” requires anything other than

confirmation that the victim received notification. Defendant does not propose an alternative

meaning for the word “certify” in this context. For these reasons, the Court finds Defendant’s

argument to be without merit.

       Defendant’s second argument fails on similar grounds. Defendant argues that the

Attorney General’s notification to the victim was insufficient because it stated that Defendant


                                                  3
Case 3:02-cr-00068-RGJ Document 458 Filed 07/29/09 Page 4 of 6 PageID #: 3067




had experienced a material change in his economic circumstances, but did not specify the nature

of Defendant’s changed circumstances. The text of § 3664(k) provides that the Attorney General

must notify the victim “of the change in circumstances.” It does not provide that the Attorney

General must specify the extent of Defendant’s changed circumstances. Again, Defendant does

not cite to any legislative history or case law in support of his argument.

       The Government attached with its motion the letter it sent to American National

Insurance Company informing it of Defendant’s changed circumstances. The letter was dated

September 3, 2008. Plaintiff’s motion was filed with the Court on October 9, 2008. There is no

evidence before the Court that the victim did not receive the Government’s notification. For

these reasons, the Court finds that the Government sufficiently complied with the certification

requirement of 18 U.S.C. § 3664(k) such that the Court has jurisdiction over this matter.

II.    Adjustment of Payment Schedule

       When there is a material change in a defendant’s economic circumstances that might

affect the defendant’s ability to pay restitution, the Court may adjust the payment schedule “as

the interests of justice require.” 18 U.S.C. § 3664(k). “A material change in a defendant’s

economic circumstances is identified by an objective comparison of a defendant’s financial

condition before and after a sentence is imposed.” United States v. Dye, 48 F. App’x 218, 220

(8th Cir. 2002) (citing Grant, 235 F.3d at 100).

       When Defendant was released from prison he had a cash flow of approximately $65.00 a

month. Based on that figure, the United States Probation Office recommended, and the Court

adopted, a restitution payment plan requiring Defendant to pay at least $50.00 a month in

restitution. Defendant’s 2007 Tax Return reveals that he had an adjusted gross income of


                                                   4
Case 3:02-cr-00068-RGJ Document 458 Filed 07/29/09 Page 5 of 6 PageID #: 3068




approximately $51,500.00. Defendant completed a financial statement on July 3, 2008

disclosing a total gross income to date of $23,220.00, plus savings of $1,250.00 and a 401K

worth $3,752.58. Defendant works for a car dealership that supplies him with a car and

automobile insurance. When the United States Probation Office was informed of this material

change in Defendant’s circumstances, they recommended, and the Court adopted, a revised

restitution payment plan requiring Defendant to pay at least $100.00 a month in restitution.

       The Government objects to the revised restitution payment plan and seeks an increase in

Defendant’s monthly restitution payment. The Government argues that Defendant’s financial

statement demonstrates that he puts away approximately $780.00 a month in savings and his

401K. Under the current repayment plan, the Government argues that Defendant will be ninety-

two years old when he discharges his debt in full. Section 3572(d)(2) provides that the Court

shall set restitution payments in “the shortest time in which full payment can reasonably be

made.” 18 U.S.C. § 3572(d)(2). The Government argues that justice requires, and § 3572(d)(2)

supports, an increase in Defendant’s monthly payment to at least $780.00 a month.

       Defendant responds that there is no statutory or regulatory requirement that the United

States Probation Office confer with the Government before completing and submitting to the

Court a revised restitution payment plan agreement. Furthermore, Defendant argues that he has

always timely notified the Probation Office of any changes in his economic circumstances.

Therefore, Defendant argues that he should not be faulted for the Government’s failure to timely

address the increase issue with the Probation Office prior to the Probation Office moving to

revise his restitution payment plan. Regarding the increase amount, Defendant argues that the

$780.00 that Defendant puts into his savings and 401K is deducted directly from his paycheck


                                                5
Case 3:02-cr-00068-RGJ Document 458 Filed 07/29/09 Page 6 of 6 PageID #: 3069




before taxes. Therefore, were his payments to increase, Defendant would not have access to the

full $780.00. Finally, Defendant requests a hearing so that the Probation Officer may be heard

regarding this matter.

       A hearing in this matter is unnecessary. See United States v. Coates, 178 F.3d 681, 685

(3d Cir. 1999) (“the fixing of restitution payments is a judicial act”). Having reviewed the

record, the Court finds that Defendant’s restitution payment plan agreement should be revised.

The Court takes into consideration the factors outlined in 18 U.S.C. § 3664(f)(2)(A)-(C) in

revising Defendant’s plan agreement. Defendant’s financial resources as provided in his 2007

Tax Return and July 2008 financial statement show that he earns approximately $51,500.00 a

year.1 Defendant’s employer provides him with a car and automobile insurance. Defendant

jointly owns a home with his wife and his mortgage is approximately $500 a month. Despite

Defendant’s self-reported monthly expenses of $2,585.00, he has been able to steadily contribute

to his savings and 401K accounts. Based on these considerations, the Court finds that

Defendant’s restitution payments should be increased to at least $500.00 per month.

                                           CONCLUSION

       For the foregoing reasons, the Government’s Motion to Increase Restitution is

GRANTED.

       An appropriate order shall issue.




                                                                           July 28, 2009


       1
        Defendant asserts that he earns $47,000.00 a year plus the occasional $500.00 monthly
bonus. However, Defendant offers no evidence in support of this assertion.

                                                6
